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               IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA
________________________________________________________________________

SOUROVELIS, et al.                                   :       CIVIL ACTION
                                                     :
                                                     :
                       v.                            :
                                                     :
CITY OF PHILADELPHIA, et al.                         :       NO.     14-CV-04687


      MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS

       Defendants City of Philadelphia, Mayor Michael Nutter, and Commissioner

Charles Ramsey (together “the City Defendants”) respectfully submit this memorandum

in support of their motion to dismiss the first amended complaint filed by Plaintiffs

Christos Sourovelis, Doila Welch, and Norys Hernandez pursuant to Federal Rules of

Civil Procedure 12(b)(1) and 12(b)(6).

       The City Defendants hereby, incorporate all factual and legal positions asserted in

the Motion to Dismiss Plaintiffs’ First Amended Complaint, and accompanying

memorandum of law, filed by Defendants R. Seth Williams and the Philadelphia District

Attorney’s Office (together “the Commonwealth”). (ECF No. 46). For the reasons set

forth in the Commonwealth’s Motion to Dismiss, Plaintiff’s complaint against the City

Defendants should be dismissed.
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                                         Respectfully Submitted,



Date: January 13, 2015                      /s/ Dimitrios Mavroudis
                                         Dimitrios Mavroudis
                                         Assistant City Solicitor
                                         Pa. Attorney ID No. 93773
                                         City of Philadelphia Law Department
                                         1515 Arch Street, 14th Floor
                                         Philadelphia, PA 19102
                                         (215) 683-5444
                                         dimitrios.mavroudis@phila.gov
